          Case 4:22-cv-05246-HSG Document 30 Filed 12/06/22 Page 1 of 3


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                                  UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA

                                          OAKLAND DIVISION



LARRY GOLDEN,                             )                Case No. 4:22-cv-05246-HSG
                                          )
   Plaintiff,                             )                NOTICE OF PENDENCY OF
                                          )                OTHER ACTIONS UNDER
v.                                        )                PATENT LOCAL RULE 2-1(a)
                                          )
GOOGLE LLC,                               )
                                          )
   Defendant.                             )
_________________________________________ )


       Under Patent L.R. 2-1(a), defendant Google LLC notifies the Court of other actions filed by

plaintiff Larry Golden within two years of the complaint in this action, which involve U.S. Patent Nos.

9,096,189 (“the ’189 patent”); 9,589,439 (“the ’439 patent”); and 10,163,287 (“the ’287 patent”).

I.     Actions in This Court
       A.      Golden v. Qualcomm, Inc., Case No. 4:22-cv-03283-HSG
       On June 6, 2022, Mr. Golden filed Golden v. Qualcomm, Inc., naming defendant Qualcomm Inc.

and alleging claims including “Contributory Infringement commencing from the ‘manufacture,

combination or composition; or, a material or an apparatus for use in practicing a patented process,

constituting a material part of the invention.’” Golden v. Qualcomm, Inc., No. 4:22-cv-03283-HSG,

Docket No. 1 at 1-2 (N.D. Cal. Jun. 6, 2022) (citation omitted in original). The complaint referenced the

’189 patent, the ’439 patent, and the ’287 patent. See, e.g., id. ¶¶ 41, 67, 85, 87, 93.

                                             –1–                 Case No. 4:22-cv-05246-HSG
                         NOTICE OF PENDENCY OF OTHER ACTIONS UNDER PATENT LOCAL RULE 2-1(a)
         Case 4:22-cv-05246-HSG Document 30 Filed 12/06/22 Page 2 of 3


       B.      Golden v. Intel Corp., Case No. 5:22-cv-03828-NC
       On June 28, 2022, Mr. Golden filed Golden v. Intel Corp., naming defendant Intel Corp. and

alleging claims including “Contributory Infringement commencing from the ‘manufacture, combination

or composition; or, a material or an apparatus for use in practicing a patented process, constituting a

material part of the invention’” of the ’189, ’439, and the ’287 patents. Golden v. Intel Corp., No.

5:22-cv-03828-NC, Docket No. 1 at 1-2; id. ¶¶ 21, 77, 76, 83 (N.D. Cal. Jun. 28, 2022). On November

22, 2022, this Court granted Intel’s Motion to Dismiss without leave to amend, finding that “Golden

attempts to allege both direct infringement and contributory infringement on the part of Intel. Neither of

these attempts are successful.” Docket No. 31, slip. op. at 4 (N.D. Cal. Nov. 22, 2022). On December 6,

2022, Mr. Golden appealed to the Federal Circuit. Docket No. 33 (N.D. Cal. Dec. 6, 2022).

       C.      Golden v. Apple Inc., Case No. 3:22-cv-04152-VKD
       On July 15, 2022, Mr. Golden filed Golden v. Apple Inc., naming defendant Apple Inc. and

alleging claims including “direct infringement; infringement under the ‘doctrine of equivalents’; indirect

infringement; and contributory infringement commencing from 35 U.S.C. § 271(a)” of the ’189, ’439,

and ’287 patents. Golden v. Apple Inc., No. 3:22-cv-04152-VKD, Docket No. 1 at 1-2; id. ¶¶ 29; 69; 85

(N.D. Cal. Jul. 15, 2022). On October 20, 2022, this Court dismissed the complaint without leave to

amend, holding that “Golden has been pressing these frivolous claims (or some variation thereof) for

nearly 10 years in multiple jurisdictions. This is the rare case where dismissal without leave to amend is

appropriate at the outset.” Docket No. 29 (N.D. Cal. Oct. 20, 2022). On November 4, 2022, Mr. Golden

appealed to the Federal Circuit. Docket No. 31 (N.D. Cal. Nov. 4, 2022).

II.    District of South Carolina

       A.      Golden v. Apple Inc., Case No. 6:20-cv-04353-BHH-KFM (D.S.C.)
       On January 5, 2021, Mr. Golden filed Golden v. Apple Inc. in the District of South Carolina,

naming Apple and fifteen other defendants, including, among others, Samsung Electronics, LG

Electronics, Qualcomm Inc., Motorola Solutions Inc., AT&T, and Big ‘O’ Dodge Chrysler Jeep Ram.

Golden v. Apple Inc., No. 6:20-cv-04353-BHH-KFM, Docket No. 10, ¶¶ 27-43; 44-60; 61-77 (D.S.C.

Jan. 5, 2021). Mr. Golden alleged that the defendants “jointly, directly, indirectly, and/or under the

‘doctrine of equivalents’” infringed the ’189, ’439, and ’287 patents. Id. On November 2, 2021, the

                                             –2–                 Case No. 4:22-cv-05246-HSG
                         NOTICE OF PENDENCY OF OTHER ACTIONS UNDER PATENT LOCAL RULE 2-1(a)
         Case 4:22-cv-05246-HSG Document 30 Filed 12/06/22 Page 3 of 3


District of South Carolina, after conducting its standard review of pro se filings, dismissed the complaint

without prejudice and without the issuance of service of process. Docket No. 26, slip op. at 6 (D.S.C.

Nov. 2, 2021). Mr. Golden appealed; the Court of Appeals for the Federal Circuit affirmed. Golden v.

Apple Inc., Nos. 2022-1229, 2022-1267, 2022 WL 4103285, at *1 (Fed. Cir. Sept. 8, 2022).

       B.      Golden v. Google LLC, Case No. 6:21-cv-00244-JD-KFM (D.S.C.)
       On January 26, 2021, Mr. Golden filed Golden v. Google LLC in the District of South Carolina,

naming defendant Google and alleging infringement of the ’189, ’439, and ’287 patents. Golden v.

Google LLC, No. 6:21-cv-00244-JD-KFM, Docket No. 1 at 1 (D.S.C. Jan. 26, 2021). The District of

South Carolina, after conducting its standard review of pro se filings, dismissed the complaint with

prejudice and without service of process. Docket No. 21, slip op. at 6 (D.S.C. Nov. 2, 2021). Mr.

Golden appealed; the Court of Appeals for the Federal Circuit vacated and remanded. Golden v. Apple

Inc., Nos. 2022-1229, 2022-1267, 2022 WL 4103285, at *1 (Fed. Cir. Sept. 8, 2022). Following the

Federal Circuit’s remand, the reviewing Magistrate Judge recommended dismissal “without prejudice

and without issuance and service of process,” because “this matter is duplicative of pending litigation in

the United States District Court for the Northern District of California.” Golden v. Google, No.

6:21-cv-00244-JD-KFM, Docket No. 39, slip op. at 8 (D.S.C. Nov. 14, 2022).

Date: December 6, 2022                           Respectfully submitted,


                                                 _______________________________________
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                                             –3–                 Case No. 4:22-cv-05246-HSG
                         NOTICE OF PENDENCY OF OTHER ACTIONS UNDER PATENT LOCAL RULE 2-1(a)
